     CaseCase:
         I:05-cv-30469-DPH ECF No.006111898931
               13-1491 Document:   81, PageID.4427Filed:
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                NOT RECOMMENDED FOR FULL-TEXT PUBLICATION

                                            No. 13-1491

                               UNITED STATES COURT OF APPEALS                            FILED
                                    FOR THE SIXTH CIRCUIT                          Dec 04, 2013
                                                                               DEBORAH S. HUNT, Clerk
In re: DOW CORNING CORPORATION,                      )
                                                     )
      Debtor.                                        )
____________________________________                 )
                                                     )
BEVERLY J. EZRA,                                     )
                                                     )       ON APPEAL FROM THE UNITED
        Plaintiff-Appellant,                         )       STATES DISTRICT COURT FOR
                                                     )       THE EASTERN DISTRICT OF
v.                                                   )       MICHIGAN
                                                     )
DCC LITIGATION FACILITY,                             )
INCORPORATED,                                        )
                                                     )
        Defendant-Appellee.                          )


                                                ORDER


        Before: MOORE and GIBBONS, Circuit Judges; HOOD, District Judge.*


        Beverly Ezra, a Nevada citizen proceeding pro se, appeals from the district court’s order

granting summary judgment in favor of DCC Litigation Facility, Inc. (“DCC”). Upon examination,

this panel unanimously agrees that oral argument is not needed. Fed. R. App. P. 34(a).

        Ezra alleges that she was injured by silicone breast implants containing raw silicone materials

manufactured by Dow Corning Corporation. See In re Dow Corning Corp., 86 F.3d 482, 485 (6th Cir.

1996). Ezra alleges that her breast implants, which were implanted in 1984, caused her to suffer a

number of diseases, illnesses, and symptoms, including atypical connective tissue disease, organic

brain syndrome, diffused arthritis, and a thyroid nodule. Ezra was a member of a large class of breast

implant claimants, but she moved to opt out of the settlement and proceed with litigation against DCC.

        *
       The Honorable Joseph M. Hood, United States District Judge for the Eastern District of
Kentucky, sitting by designation.
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DCC sought summary judgment on several bases, including that Ezra failed to present expert

testimony establishing general causation for these product liability claims. The district court granted

summary judgment in favor of DCC. Ezra appeals.

       We review de novo a district court’s decision to grant summary judgment. Lockett v. Suardini,

526 F.3d 866, 872 (6th Cir. 2008). Summary judgment is proper “if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). “In considering a summary judgment motion, all inferences to be drawn from

the facts must be viewed in the light most favorable to the non-moving party.” Defoe ex rel. Defoe v.

Spiva, 625 F.3d 324, 330 (6th Cir. 2010).

       In federal diversity actions, state law governs substantive issues. Erie R.R. Co. v. Tompkins,

304 U.S. 64, 78 (1938). In Michigan, as elsewhere, “[i]t is usually held that in order to state a

negligence claim on which relief may be granted, plaintiffs must prove (1) that defendant owed them

a duty of care, (2) that defendant breached that duty, (3) that plaintiffs were injured, and (4) that

defendant’s breach caused plaintiffs’ injuries.” Henry v. Dow Chem. Co., 701 N.W.2d 684, 688

(Mich. 2005). “Under Michigan products liability law, as part of its prima facie case, a plaintiff must

show that the manufacturer’s negligence was the proximate cause of the plaintiff’s

injuries. . . . [which] actually entails proof of two separate elements: (1) cause in fact, and (2) legal

cause, also known as ‘proximate cause.’” Skinner v. Square D Co., 516 N.W.2d 475, 479 (Mich.

1994) (emphasis omitted) (quoting Moning v. Alfono, 254 N.W.2d 759, 764 (Mich. 1977)); see Mich.
Comp. Laws § 600.2945–.2949a.

       Despite DCC’s assertions otherwise, Michigan law contains no requirement that “the plaintiff

must establish both general and specific causation through proof that the toxic substance is capable

of causing, and did cause, the plaintiff’s alleged injury.” Pluck v. BP Oil Pipeline Co., 640 F.3d 671,

676-77 (6th Cir. 2011) (relying on Ohio law). The only Michigan case cited for this proposition is

unpublished and relies on federal district court case law based on law outside of Michigan. See Trice

v. Oakland Dev. Ltd. P’ship, 2008 WL 7488023, at *11 (Mich. Ct. App. Dec. 16, 2008). Instead,

Michigan courts have explicitly rejected the requirement that a plaintiff prove both general and specific
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causation. Genna v. Jackson, 781 N.W.2d 124, 128-29 (Mich. Ct. App. 2009). In the absence of any

binding authority that Michigan law requires proof of general causation in a products liability action,

we decline to impose such a requirement. The district court erred in imposing such a requirement as

its basis for granting summary judgment to DCC in this case.

       Accordingly, we vacate the district court’s order granting summary judgment in favor of DCC

and remand for further proceedings. We deny Ezra’s motion for the appointment of counsel.

                                           ENTERED BY ORDER OF THE COURT




                                                              Clerk
  CaseCase:
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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
      Clerk                        CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                 Filed: December 04, 2013




Ms. Beverly J. Ezra
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                    Re: Case No. 13-1491, Beverly Ezra v. DCC Litigation Facility, Inc.
                        Originating Case No. : I:05-cv-30469

Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                                 Sincerely yours,

                                                 s/Laura A. Jones
                                                 Case Manager
                                                 Direct Dial No. 513-564-7023

cc: Mr. John Donley
    Ms. Sarah Joy Donnell
    Mr. Robert D. Goldstein
    Mr. David J. Weaver

Enclosure

Mandate to issue
